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AO 9 i ,'.ev. l l/11) Criminal Complaint                                                               ~ ~ ~ ~ ~~~


                                UNITED STATES DISTRICT COURT
                                                        for the

                                             Central District of California
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 United States of America
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                                                                   Case No.         ~ENTRA~
 ~~~~ii%~~7i~fr~►~


                  Defendant


                                           CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of July 27, 2017 in the county of Los Angeles in the Central District of California, the

defendant violated:

           Code Section                                           Offense Description

           zl u.s.c. §§ s41(a)(1), (b)(1)(c)                      Distribution of Methamphetamine
                                                                  Resulting in Death
         This criminal complaint is based on these facts:

          Please see attached affidavit.

         ❑
         D Continued on the attached sheet.




                                                                                Printed name and title
 Sworn to before me and signed in my presence.

 Date:            ~~~ S// ~ ~                                                           ~
                                                                                    dge's signature

 City and state: Los Angeles, California                             Hon. Patrick Walsh, U.S. Magistrate Judge
                                                                                Printed name and title



AUSA: Brittney M. Harris (x0488)
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                                AFFIDAVIT

I, John Mundell, being duly sworn, declare and state as follows:

                       I.   PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of criminal

complaint and arrest warrant against EDWARD BUCK for a violation

of 21 U.S.C. ~~ 841(a)(1), (b)(1)(C)        Distribution of

Methamphetamine Resulting in Death.

     2.      The facts set forth in this affidavit are based upon

m y personal observations, my training and experience, and

information obtained from other law enforcement officers and

witnesses.     This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.          Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                      II.   BACKGROUND OF AFFIANT

     3.      I am a Task Force Officer (~~TFO") with the Drug

Enforcement Administration ("DEA"), and have been so employed

since 2018.     I was also a TFO with the DEA from 2008 to 2014.         I

am also a Deputy Sheriff with the Los Angeles County Sheriff's

Department and have been so employed since 1988 and have worked

in the Narcotics Bureau since 2002.       I went through a nineteen-

week academy and have attended hundreds of other instructional

courses in criminal law enforcement.        The courses that I have

taken have covered drug trafficking patterns, surveillance



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techniques, narcotics identification, money laundering, etc.            I

am currently part of the Los Angeles County Sheriff's Department

Opiate Response Team, which investigates suspected drug overdose

deaths of individuals.

     4.    During my tenure as a law enforcement officer,

including as a TFO, I have investigated hundreds of cases

involving the manufacturing, transportation, sale, possession

for sale, and trafficking of controlled substances, and

conspiracies associated with controlled substance offenses.            I

have been involved in narcotics-related arrests that have

resulted in the seizure of narcotics and other evidence.

     5.    I have used a variety of techniques and resources,

including, but not limited to, surveillance, use of confidential

sources, undercover operations, telephone toll analysis,

installation, monitoring and retrieval of trackers, search

warrants, and wire intercept communications analysis.

     6.    I am familiar with narcotics traffickers' methods of

operation including the distribution, storage, and

transportation of narcotics, and the collection of proceeds of

narcotics trafficking, and money laundering.

                    III. SUNIlKARY OF PROBABLE CAUSE

     7.    The Drug Enforcement Administration is conducting an

investigation into EDWARD BUCK (~~BUCK") following the drug

overdose deaths of two individuals, on separate occasions, both

of whom were found dead inside of BUCK's residence in West

Hollywood, California.
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     8.     On or about July 27, 2017, victim Gemmel Moore

("Moore") was found nearly naked (wearing only white socks) and

unresponsive on the living room floor in BUCK's residence and

was pronounced dead after the police arrived.         The autopsy

report concluded that the cause of death was methamphetamine

overdose.    Witnesses who knew Moore told law enforcement

officers that BUCK paid Moore in money and drugs in exchange for

Moore to engage in sexual activities with BUCK.          At the time of

Moore's death, Moore had been living in Texas, and text messages

between BUCK and Moore suggested that BUCK purchased Moore's

airline ticket for Moore to fly to Los Angeles for BUCK to

engage in sexual activities with Moore.

     9.     On or about January 7, 2019, a man who is identified

herein as Victim 1 was found almost naked (wearing only white

underwear) and unresponsive on the living room floor in BUCK's

residence and was pronounced dead after the police arrived.            The

autopsy report concluded that the cause of death was

methamphetamine and ethanol toxicity.        The coroner

investigator's report stated that a rubber ring was around

Victim 1's scrotum and a rubber ring was around the base of

Victim 1's penis.

     10.    Based on information obtained from an individual

identified herein as Victim 7, described further below, BUCK

continued to solicit men for sex and drug use after the January

7, 2019 death.    According to Victim 7, BUCK propositioned him as

recently as July 2019.
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     11.     Finally, based on information obtained from an

individual identified herein as Victim 10, described further

below, BUCK solicited him to engage in sexual activities and

distributed methamphetamine to him nearly every day during an

approximately one month period from on or about July 29, 2019,

to on or about September 6, 2019, while Victim 10 was living at

BUCK's residence.     According to Victim 10, BUCK intravenously

injected methamphetamine into Victim 10 on September 4 and

September 11, 2019, which caused Victim 10 to suffer overdose

effects, requiring him to be transported to the hospital.

Victim 10 was subsequently released from the hospital after each

encounter.

                   IV.   STATEMENT OF PROBABLE CAUSE

     12.     Based on my review of law enforcement reports,

conversations with other law enforcement officers, and my own

knowledge of the investigation, I am aware of the following:

     A.      Gemmel Moore's Death

     13.     On July 27, 2017, at 6:54 p.m.,l Los Angeles Sheriff's

Department (~~LASD") deputies arrived at 1234 North Laurel

Avenue, Apartment 17, in West Hollywood, California (~~BUCK's

residence"), in response to BUCK's 911 call that a person had

stopped breathing in BUCK's residence.        The deputies saw that

the individual (later identified as Moore)z was laying

unresponsive and nearly nude (wearing only white socks on his




     1 All dates are on or about and all times are approximate
unless otherwise indicated.
     z Moore was a 26 year-old black male.
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feet) on a mattress in the living room of the apartment.

Paramedics attempted to revive Moore, but at 7:22 p.m.,

paramedics pronounced Moore dead.       According to the autopsy

report, the cause of death was methamphetamine overdose.           The

coroner investigator's narrative stated that Moore had a recent

puncture mark on his left antecubital fossa (elbow pit), which,

based on my training and experience is consistent with injection

of intravenous drugs.

     14.     BUCK told the LASD deputies that Moore was his friend

and that he had just arrived from Texas.        BUCK further stated

that Moore injected methamphetamine and smoked marijuana

approximately two to three hours prior in the restroom, but that

he did not see Moore injecting methamphetamine and did not know

where Moore disposed the syringe.       BUCK said that he and Moore

were lying down on the mattress in the living room watching

television when Moore became extremely hot to the touch.           BUCK

said that he put ice packs on Moore's chest.         BUCK said that he

noticed Moore doze off so BUCK went to his bedroom for a few

minutes and when he went back to the living room, Moore was

unresponsive.     BUCK said that he called his neighbor who came

over to conduct CPR on Moore and BUCK called 911.

     15.     At BUCK's residence, LASD deputies saw various

narcotics paraphernalia, including approximately 24 syringes and

5 glass pipes (consistent with methamphetamine use), inside the

apartment.     Deputies also found 1.76 grams of a substance that a

LASD laboratory analyst later confirmed contained

methamphetamine.     The coroner investigator seized the narcotic
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evidence.    The methamphetamine was found in a tool box in the

living room, near Moore, which also contained various sex toys.

     16.    At BUCK's residence, the coroner investigator found

boarding passes for an American Airlines flight for Moore.

According to one of the boarding passes, Moore departed Houston,

Texas at 8:20 a.m. on July 27, 2017, and landed in Phoenix,

Arizona.    According to another boarding pass, Moore departed

Phoenix at 10:00 a.m. that same day, and landed in Los Angeles.

     17.    According to American Airlines records, Moore's flight

was purchased online on July 25, 2017, by a person identified in

the records as `BEd Buck" with an address of 1234 North Laurel

Avenue, Apartment 17, Los Angeles, California 90046 (i.e.,

BUCK's residence) and with a telephone number ending in 2609,

which is the same telephone number that BUCK was using to

communicate with Moore the day of Moore's death.          As detailed

below, the date of the flight purchase is consistent with the

timing of the text message exchange between BUCK and Moore.

     18.    The coroner investigator also located Moore's iPhone,

which the coroner investigator took into property and later

release to a family friend, per Moore's mother.          LASD

Investigators later obtained Moore's iPhone from Moore's mother,

w ho allowed Investigators to download and examine it.          LASD

Investigators found a text message conversation between Moore

and 323-821-2609, which is the cell phone number that BUCK

provided to law enforcement on the evening of Moore's death.

According to the text messages from Moore's phone, on July 20,

2017, Moore messaged BUCK, "Hey mr Buck" and sent a photograph
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of the waist/crotch area of an individual and stated, `Gemmel

your master slave."     BUCK responded, "Or slave master."        Later

in the conversation that same day, Moore texted ~~I'm starting to

miss la" and sent a close up photograph of an individual's arm

with a tourniquet around it and syringe inserted into it and a

text message stating, "?".      BUCK responded the following

morning, `~Be here now."    Later on in the conversation, on July

22, 2017, Moore stated, "I'm still in Texas, it be wonderful if

you can send for me please ill behave."        On July 25, 2017, Moore

stated, "I got the email...still haven't found any one with bank

account."   In the evening on July 26, 2017, BUCK texted, ~~You

have a flight in the morning have you checked in."           At 12:21

a.m. on July 27, 2017, Moore stated, "I'm just wakin up" ~~I got

everything handled I'll get there."        BUCK responded, `Great I'm

just headed to bed call me in the morning and I'll get an Uber

out to you,"3 ~~I almost can't believe this is already happening

this fast through to be in LA oh boy," and "Is there anything

you need me to get for you before you get here."          Moore

responded, "possibly marijuana."       At 4:38 a.m. on July 27, 2017,

Moore texted, ~~I'm at the airport."       Later on in the

conversation, at 11:38 a.m., BUCK texted, "I see you're landed

and are going to gate 50 B terminal five," "I will have a Nissan

Murano tan with a black man driving waiting for you outside the

terminal," and ~~I'll get your car in position."         During the


     3 Uber records do not indicate that BUCK sent an Uber car to
pick up Moore; however, surveillance footage from BUCK's
apartment shows that Moore arrived at BUCK's apartment in a tan
Nissan Murano driven by an unidentified black male, just as BUCK
described in the text messages to Moore set forth below.
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conversation, the two discussed the airport's traffic and the

delay in Moore disembarking the plane.        At 12:30, BUCK texted,

"What are you wearing hat color shirt color jeans and all that

so my driver can spot you."       Moore responded, "Grey jacket black

sweats."     BUCK texted, `WOK when you get outside go to the right

and you will see an area that has the letter E as in Edward

stand there you're looking for a tan SUV with a black man

driving it it's brand new."       At 12:38 p.m., Moore texted, ~~I'm

off."     At 12:49 p.m., Moore texted, "Terminal. 5 near airport

shuttle."

     19.     According to video surveillance footage from the

apartment building of BUCK's residence at 1:45 p.m. on July 27,

2017, a light-colored Nissan SUV entered the carport for the

apartment complex and an individual believed to be Moore got out

of the SUV.       I have viewed still images from the video

surveillance footage and the individual appeared to me to be

Moore.     Moore was wearing black sweat pants and a dark-colored

jacket.     The video shows Moore walk from the Nissan SUV to the

front gate of the apartment complex, BUCK meeting him at the

entrance, and both walking up and entering BUCK's residence.

             1.     Interview of Moore's Mother

     20.     On August 21, 2017, LASD investigators interviewed

Moore's mother.       She stated that in 2016, Moore, who was then

living in Los Angeles, called her and said that a rich and

powerful man named Ed Buck held Moore against his will and shot

him up with drugs.
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        21.    In April/May 2017, Moore moved to Texas and lived

with his mother.     According to Moore's mother, Moore would talk

about BUCK to her from time to time.        Moore told her that BUCK

would pay more for Moore to get high on methamphetamine with

BUCK.     Moore told his mother that BUCK would have Moore pose

with white "long john" underwear and BUCK would photograph

Moore.

              2.   Interview of Moore's Aunt

     22.      On August 21, 2017, LASD investigators interviewed

Moore's aunt.      She stated that in April 2017, Moore told her

that BUCK used to inject Moore with drugs and would do "horrible

things" to him.

              3.   Interviews of Other Potential Victims or
                   Witnesses

     23.      During the investigation of Moore's death, LASD

investigators interviewed other men who discussed their

encounters with BUCK.

     24.      For example, in a telephonic interview of an

individual who is identified herein as Victim 24 on August 15,

2017, Victim 2 stated that on July 3, 2017, Victim 2 fell asleep

on BUCK's couch at BUCK's residence and when he woke up his arm

was tied to the couch, and was red and sore.         Victim 2 stated

that he believed BUCK injected him with drugs while Victim 2 was

asleep.




     4 The name that Victim 2 provided to LASD deputies during
the interview was different than the name LASD deputies later
learned to be Victim 2's true name, which LASD deputies obtained
from Victim 2's attorney.
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     25.     In an interview of an individual who is identified

herein as Victim 3 on September 6, 2017, Victim 3 explained that

he met BUCK on the gay male dating and escort website Adam4Adam,

where BUCK messaged Victim 3 asking if Victim 3 wanted to make

some money.     BUCK offered Victim 3 cash to "party and play,"

which Victim 3 understood to mean money in exchange for drug use

("party") and sex ("play").      BUCK detailed the terms of the

agreement before they met, including the specific drugs they

would do together and the amount of payment Victim 3 would

receive.     BUCK offered Victim 3 $800 to $1000 to "party and

play" with cocaine, and Victim 3 accepted.         Victim 3 went to

BUCK's residence where BUCK gave Victim 3 a bag of cocaine and

watched Victim 3 snort the drugs at the kitchen table.           BUCK

repeatedly encouraged Victim 3 to do more drugs, and offered to

give him more money if he would use more drugs.          BUCK dressed

Victim 3 in white undergarments and pleasured himself while he

stared at Victim 3's bulge in the white undergarments.           Victim 3

reported that BUCK took photographs of him during their first

encounter.

     26.     In an interview with a male referred to herein as

Victim 4 on September 14, 2017, Victim 4 stated that he met BUCK

in an area in Hollywood known for drug use and transgender

prostitutes.     BUCK pulled up in a grey Acura SUV,S and Victim 4

got in the car.    BUCK offered Victim 3 $300 to come over to



     5 LASD investigators reviewed California Department vehicle
records on September 17, 2019, which show that BUCK is currenly
the registered owner of a 2001 silver 2001 Acura MDX, which is a
sports utility vehicle
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BUCK's residence for three hours to smoke methamphetamine.

Victim 4 agreed.    After Victim 4 and BUCK smoked some

methamphetamine, BUCK asked Victim 4 to "shoot up," referring to

using the drug intravenously.      When Victim 4 refused, BUCK

became more forceful and insisted that Victim 4 smoke more

drugs.     At one point, Victim 4 told BUCK his time was up, asked

for payment, and left.     After some time, BUCK reached out to

Victim 4 on the website Adam4Adam - not realizing that he had

already met Victim 4 - and they got together at BUCK's

residence.     BUCK offered him $100-$200 an hour to engage in

sexual activities and use drugs, and he went to BUCK's residence

on multiple occasions.     On one occasion, Victim 4 fell asleep on

BUCK's couch at BUCK's residence, did not feel well when he woke

up, and believed that he had been injected with drugs.           The next

day, Victim 4 was taken to a hospital, where medical staff

confirmed that Victim 4 had ingested a tar-like substance, but

they could not confirm what the substance was.

     27.     During the investigation related to Victim 1's death

(see section B below), LASD investigators interviewed an

individual herein identified as Victim 5 on May 8, 2019.           Victim

5 told investigators that he met BUCK on the website Adam4adam,

where they exchanged messages and ultimately spoke on the phone.

Victim 5 stated that on April 24, 2019, he went to BUCK's

residence to engage in sexual activities in exchange for money

and marijuana.     Inside BUCK's residence, he saw numerous white,

gray, and black men's underwear in plastic bins, neatly folded

and separated by size.     Besides BUCK, there was another man
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inside the apartment, who asked BUCK if he could smoke

methamphetamine one more time before he left.         BUCK said yes,

and provided the man with a glass pipe and methamphetamine.

BUCK offered Victim 5 methamphetamine several times, but Victim

5 declined.   BUCK asked Victim 5 if BUCK could blow

methamphetamine smoke on Victim 5's penis, but Victim 5 said no.

BUCK told Victim 5 that he had a strong underwear fetish and

asked Victim 5 to put on a pair, which Victim 5 did.          Later,

Victim 5 and BUCK drove together to a marijuana dispensary, and

BUCK purchased marijuana for Victim 5.        They then drove to a

liquor store and BUCK purchased vodka for Victim 5.          When they

went back to BUCK's residence, BUCK showed Victim 5 videos of

Moore who appeared to Victim 5 to be scared.         BUCK's offers of

methamphetamine became increasingly insistent, and at some

point, BUCK told Victim 5 that it was not gratifying for him if

Victim 5 did not ingest methamphetamine.        During this encounter,

BUCK provided Victim 5 with two pills that BUCK said were

Viagra.    Victim 5 stated that after taking them, he felt weird

and his legs locked up.      He told BUCK that he needed to leave.

BUCK compensated Victim 5 with $50 and told him he could have

earned more if he complied with all of BUCK's demands, which

Victim 5 believed referred to BUCK's request that Victim 5

ingest methamphetamine.      Victim 5 took his cash payment and

left.

     B.    Victim 1's Death

     28.   On January 7, 2019, at 1:08 a.m., LASD deputies

arrived at BUCK's residence in response to a 911 call that BUCK
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placed.    LASD deputies saw that an individual (later identified

as Victim 1)6 was laying nearly naked (wearing only white

underwear) and unresponsive on the living room floor.

Paramedics attempted to revive Victim 1, but after about 30

minutes, they pronounced Victim 1 dead.        According to the

autopsy report, the cause of death was methamphetamine and

ethanol toxicity, with coronary artery atherosclerosis as a

contributing condition.     The autopsy report also stated that

there was both scar tissue (indicating an old injection site)

and a new hemorrhage on his right antecubital fossa (elbow pit)

(indicating a new injection site).       The coroner investigator's

report stated that there was also a plastic ring around Victim

1's scrotum and a plastic ring around the base of Victim 1's

penis.

     29.   BUCK told LASD deputies that he had been friends with

Victim 1 for 30 years and that Victim 1 texted him around 11:30

p.m. on January 6, 2019, wanting to see BUCK.         According to

BUCK, when Victim 1 arrived, Victim 1 wanted sex.          BUCK left the

living room for five to ten minutes and when he came back,

Victim 1 had multiple layers of clothing on his face and was

walking on his knees making "ape" noises.        Victim 1 then fell

backwards and stopped making noises.        BUCK said that he went

over to Victim 1 and saw that he was unresponsive and that he

had clothing tied tightly around his neck and face, so BUCK

removed the clothing (the coroner investigator's report noted

that the investigator did not observe any clothing that appeared


     6 Victim 1 was a 55 year-old black male.
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to be fashioned like a noose).       BUCK then called 911 and began

performing chest compressions until law enforcement arrived.

     30.     Inside BUCK's residence, deputies found glass pipes

and syringes in various places.

     31.     During the search of BUCK's residence pursuant to a

state search warrant after Victim 1's death, deputies saw BUCK

sitting inside of a silver Acura sports utility vehicle, which

was parked inside of the building's underground gated parking

garage.

     32.     On the same date of the investigation, another

resident that lived at the apartment complex called the police

to report a suspicious package outside of the window to BUCK's

residence.     It appeared to be a plastic bag with a box inside.

LASD deputies seized the package and obtained a search warrant.

Inside, deputies found several hypodermic syringes and glass

cylindrical bulbous pipes, as well as baggies with powdery

residue in them.     DNA testing was conducted by a senior

criminalist at the LASD Scientific Services Bureau on the pipes

and hypodermic syringes.      The report states, in part, that with

respect to two pipes, there is "very strong support for the

proposition that Edward Buck and [Victim 1] are co-contributors

to the DNA obtained" from the samples collected on each of the

pipes.     The report also states that with respect to two

s yringes, there is "very strong support for the proposition that

Edward Buck is a contributor to the DNA obtained" from the

s yringes.   Additionally, the report concludes that with respect

to another syringe, there is "very strong support for the
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proposition that [Victim 1] is a contributor to the DNA

obtained" from the syringe.      The remaining pipes and syringes

had either insufficient DNA on them to analyze, DNA that was too

complex to analyze, or varying levels of support for concluding

that Edward Buck and/or Victim 1's DNA was included on the

samples.

           1.    Interviews with Other Potential Victims or
                 r~,; ~r..~~,.~

     33.   During the investigation of Victim 1's death, LASD

learned of a number of individuals who recounted their

encounters with BUCK to LASD investigators.

     34.   For example, in an interview with a male who is

identified herein as Victim 6 on March 13, 2019, Victim 6 stated

that he moved to Los Angeles in 2009, then became homeless in

2011 and stayed in Plummer Park, where he learned about BUCK

from others who congregated there.       Victim 6 said that BUCK was

nicknamed "Doctor Kevorkian," and was well known for

compensating male prostitutes with drugs and money.          Victim 6

had two encounters with BUCK in 2011.        During their first

meeting at BUCK's residence, BUCK gave Victim 6 $60 in cash and

a baggie of methamphetamine in exchange for sex.          Victim 6

stated that it was part of BUCK's role-playing and fantasy to

inject people with methamphetamine.        Victim 6 told BUCK that he

had never injected methamphetamine and was uncomfortable with

doing so, but BUCK assured him that it would be fine.           Victim 6

agreed to a small dose of methamphetamine, which he offered to

inject in himself, but BUCK wanted to do it.         BUCK ignored
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Victim 6's agreement to only a small dose, and emptied an entire

syringe in him.    BUCK asked Victim 6 to put on white underwear

and a jockstrap.    BUCK placed a sex toy around Victim 6's penis,

but it was tight and very painful.       Victim 6 lost consciousness,

and when he came to, BUCK told him to shower, then paid him with

money and drugs before Victim 6 left.        During the second meeting

at BUCK's residence, BUCK again injected Victim 6 with a large

quantity methamphetamine.      Victim 6 instantly lost

consciousness, and when he awoke, he felt pain in his anus and

saw that it was bleeding.      A third unidentified man was

recording Victim 6.     BUCK gave Victim 6 $100 compensation and a

baggie of methamphetamine before Victim 6 left.          Victim 6 told

investigators that BUCK insists on injecting prostitutes with

methamphetamine, and that BUCK would dismiss anyone who would

not permit it, without compensation.

       35.   In an interview with a male who is identified herein

as Victim 7 on April 2, 2019, Victim 7 stated that he was an

escort and in early December 2018, BUCK found Victim 7's phone

number on the website Adam4adam and called Victim 7 to arrange

to have Victim 7 come over to engage in sex and methamphetamine

use.    During this conversation, BUCK told Victim 7 that he had a

fascination with underwear and jockstraps.         They agreed on a

price of $300 for Victim 7's services, and BUCK sent a car to

pick up Victim 7 and bring him to BUCK's residence.          When Victim

7 arrived, BUCK offered him a Klonopin pill and a glass

containing clear soda.     BUCK insisted on injecting Victim 7 with

methamphetamine, but his hand was shaking too much, so Victim 7
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injected himself.     Victim 7 stated that methamphetamine normally

makes him more alert, but after Victim 7 drank the clear soda

BUCK gave him, he became sleepy and began losing control over

his physical movements.     Victim 7 passed out, and when he awoke,

BUCK was approaching him with two additional syringes loaded

with methamphetamine.     BUCK was insistent that Victim 7 stay,

but Victim 7 had to leave and informed BUCK that his friend was

waiting outside for him.      BUCK paid Victim 7 $300, and Victim 7

left.   Later the same month, BUCK contacted Victim 7 again,

offering to pay Victim 7 to engage in sex and use

methamphetamine.     Victim 7 stated that BUCK sent an Uber car to

Victim 7's residence to pick him up and bring him to BUCK's

residence.     At BUCK's residence, Victim 7 injected himself with

a syringe of what BUCK represented to be methamphetamine, but

after administering only part of the drugs, Victim 7 was lying

on the floor, unable to move for approximately 6 to 7 hours.

Victim 7 believes that BUCK gave him some sort of tranquilizer.

Victim 7 reported that Victim 7 began to feel as if he was not

able to move.     While unable to move, at some point, Victim 7

claimed that BUCK wanted Victim 7 to leave, but that Victim 7

could not move.     BUCK then became frustrated and obtained a

power saw from a closet, turned it on, and approached Victim 7

with it.     Victim 7 said that he got an adrenalin rush and was


     ~ Uber records for BUCK's Uber account, obtained via grand
jury subpoena, corroborate Victim 7's statement that BUCK sent
an Uber to pick him up in December 2018. According to BUCK's
Uber records, Buck sent an Uber car to an address one residence
over from Victim 7's known residence on December 14, 2018 at
approximately 11:40 p.m., and the ride ended at BUCK's residence
at approximately 12:00 a.m.
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able to stand up and go to the kitchen.        Victim 7 said that when

he regained his ability to speak, BUCK refused to pay him and

another male known to Victim 7 only as ~~Chad" arrived, possibly

to remove Victim 7.     Victim 7 stated that he was extremely angry

that BUCK refused to pay him, but that BUCK eventually paid

Victim 7 through the banking application, Zelle.          Messages on

BUCK's cellphone, which was seized and searched after Victim 1's

death pursuant to a state search warrant, corroborate Victim 7's

account that BUCK paid him using Zelle.8

       36.   In an interview with a male who is identified herein

as Victim 8 on March 21, 2019, Victim 8 stated that BUCK would

pay him in cash and marijuana to engage in sexual activities

with Victim 8 at BUCK's residence, including asking Victim 8 to

don white underwear for him.      Victim 8 stated that on the last

occasion, BUCK provided him with what he thought was vodka, but

after consuming it, he fell asleep.        Victim 8 stated that when

he woke up, BUCK was injecting Victim 8 with a drug via a

syringe.     Victim 8 panicked because he does not use

methamphetamine, and he tried to get up, but he could not move.

Victim 8 stated that his underwear was pulled down and he felt

excruciating pain in his anus, which was bleeding.          There were

metal clips fastened to his nipples, and when he tried

unsuccessfully to remove them, BUCK laughed and whispered to

him.    Victim 8 reported that he was in a state of catatonia.




     e The messages also show that Victim 7 threatened to expose
BUCK if BUCK did not pay him for his services.
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     37.     In an interview with a male who is identified herein

as Victim 9 on April 26, 2019, Victim 9 stated that he would

engage in sexual activities with BUCK on several occasions in

exchange for drugs and money at BUCK's residence.          On some of

these occasions, Victim 9 would fall asleep shortly after

consuming the narcotics and would wake up later to BUCK

injecting or preparing syringes to inject Victim 9 with

substances.

     C.    Evidence Suggests that BUCK Has Continued to Solicit
           Men and Distribute Methamphetamine After the Overdose
           Deaths

     38.     After Victim 1's death at BUCK's residence in January

2019, BUCK has continued to solicit men, including Victim 7 who

reported that BUCK called him to inquire about Victim 7's

availability as recently as July 2019.

     39.     Additionally, on September 11, 2019, LASD

investigators interviewed an individual identified herein as

Victim 10 regarding his encounters with BUCK.         Victim 10 stated

that he met BUCK on Adam4Adam in June 2019.         On several

occasions in June and July 2019, Victim 10 told investigators

that BUCK sent an Uber to a hotel in Skid Row where Victim 10

was then living to pick Victim 10 up and bring him to BUCK's

residence.    After arriving at BUCK's residence, BUCK and Victim

10 engaged in sexual activities and BUCK provided

methamphetamine for Victim 10 to smoke and to use intravenously.

Victim 10 stated that BUCK would supply and intravenously inject

Victim 10 with methamphetamine.       According to Victim 10, from

July 29, 2019, to September 6, 2019, Victim 10 lived with BUCK
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at BUCK's residence and during that time, BUCK would supply and

intravenously inject methamphetamine into Victim 10 on a near

daily basis.   According to Victim 10, BUCK intravenously

injected methamphetamine into Victim 10 on September 4 and

September 11, 2019, which caused Victim 10 to suffer overdose

effects and causing him to be transported to the hospital.

Victim 10 survived both overdoses.

     40.    Specifically, on September 4, 2019, Victim 10 reported

that while at BUCK's residence, BUCK injected Victim 10 with

methamphetamine twice within an approximately 30 minute period.

Victim 10 felt like he was overdosing and asked BUCK to take him

to an urgent care.     Victim 10 claimed that BUCK initially did

not take action, but eventually agreed to drive Victim 10 to

urgent care.    Victim 10 reported that the urgent care advised

that he go to the hospital and BUCK sent an Uber to pick up

Victim 10 from the urgent care and take him to the hospital.

According to Victim 10, he was released from the hospital the

same day.

     41.    On September 11, 2019, Victim 10 reported that, while

at BUCK's residence, BUCK injected Victim 10 with

methamphetamine twice and supplied Victim 10 with GHB, which

based on my training and experience is an acronym for Gamma

H ydroxybutyrate, a Schedule I controlled substance.         Victim 10

relayed that he drank the GHB with soda water.         Victim 10 told

law enforcement that he began to feel as if he was overdosing

and asked BUCK to provide him with a Klonopin pill, which he

refused.    Victim 10 then requested BUCK to call an ambulance,
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which he refused.    Victim 10 stated that he eventually walked to

the gas station across the street and asked a passerby and the

gas station employee to call 911, which they did.          Paramedics

arrived and Victim 10 was taken to Cedar Sinai Medical Center.

The discharge report from Cedars Sinai Medical Center dated

September 11, 2019, which Victim 10 provided to investigators,

states that the reason for the visit was overdose and anxiety.

Based on my review of the report, there are no toxicology

results listed and the report and it does not state if

toxicology testing was done.

                               CONCLUSION


     42.   For all of the reasons described above, there is

probable cause to believe that BUCK has committed a violation of

21 U.S.C. ~~ 841(a)(1), (b)(1)(C): Distribution of

Metriamphetamine resulting in lle~




Subscribed to and sworn before
me
on September ~    2019.


     ~~i~/1~C~G ~.
UNITED STATES ~GISTRATE JUDGE
